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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


    In re:                                                     Chapter 11

    KATERRA INC., et al.,1                                     Case No. 21-31861 (DRJ)

              Debtor.                                          (Jointly Administered)


                     NOTICE OF APPEARANCE AND REQUEST FOR SERVICE


             PLEASE TAKE NOTICE that pursuant to section 1109(b) of title 11 of the United States Code

(the “Bankruptcy Code”) and Federal Rule of Bankruptcy Procedure 2002 (the “Bankruptcy Rules”),

Parkins Lee & Rubio LLP hereby enters its appearance in the above-captioned chapter 11 cases as co-

counsel to Greensill Limited (in liquidation) acting by its joint liquidators, Andrew Charters and Sarah

O’Toole of Grant Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG (“Greensill

Limited (in liquidation)”), a creditor herein. The undersigned respectfully requests that all notices

given or required to be given in this proceeding and all papers served or required to be served in this

proceeding, be served upon the following:

                                                Lenard M. Parkins
                                                Charles M. Rubio
                                                R. J. Shannon
                                                PARKINS LEE & RUBIO LLP
                                                Pennzoil Place
                                                700 Milam Street, Suite 1300
                                                Houston, Texas 77002
                                                Email: lparkins@parkinslee.com
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             A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
             Debtors’ claims and noticing agent at https://cases.primeclerk.com/katerra.
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        PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for Service

is not only for the notices and other documents referred to in the Rules specified above but includes,

without limitation, all orders, notices, applications, motions, petitions, schedules of assets and

liabilities, statements of financial affairs, pleadings, requests, complaints or demands, whether formal

or informal, whether written or oral, and whether transmitted or conveyed by mail, courier service,

hand-delivery, telephone, facsimile transmission, email or otherwise.

        PLEASE TAKE FURTHER NOTICE that Greensill Limited (in liquidation) does not intend

that this Notice of Appearance and Request for Service or any later appearance, pleading, proof of

claim, claim or suit be deemed or construed to be a waiver of (1) the right to have final orders entered

only after de novo review by a District Judge, (2) the right to trial by jury in any proceeding so triable

in these cases or any case, controversy or proceeding related to these cases, (3) the right to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary withdrawal,

or (4) any other rights, claims, actions, defenses, setoffs, or recoupments to which Greensill Limited

(in liquidation) is or may be entitled, in law or in equity, all of which rights, claims, actions, defenses,

setoffs and recoupments Greensill Limited (in liquidation) expressly reserves. All of Greensill Limited

(in liquidation) rights are reserved and preserved, without exception and without confessing or

conceding jurisdiction in any way by this filing or by any other participation in this case.



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Dated: October 15, 2021                    Respectfully Submitted

                                           /s/ Lenard M. Parkins
                                           PARKINS LEE & RUBIO LLP
                                           Lenard M. Parkins PLLC
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                                           Charles M. Rubio P.C.
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                                           Phone: 713-715-1660

                                           Co-Counsel to Greensill Limited (in liquidation)



                                CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2021, the forgoing document was served through the
Court’s CM/ECF System on all parties registered to receive such service.


                                           /s/ R.J. Shannon
                                           R.J. Shannon




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